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19
                                UNITED STATES DISTRICT COURT
20                                  DISTRICT OF ARIZONA
21    The United States of America,
22                                                  No. 2:10-cv-1413-PHX-SRB
                   Plaintiff,
23                                                  STIPULATION AND REQUEST
24          v.                                      FOR AN EXTENSION OF TIME
                                                    TO RESPOND TO DEFENDANTS’
25    The State of Arizona; and Janice K. Brewer,   MOTION TO DISMISS (FIRST
      Governor of the State of Arizona, in her      REQUEST)
26    Official Capacity,

27
28                 Defendants.
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 2            IT IS HEREBY STIPULATED, pursuant to LRCiv. 7.3, by and between the
 3   parties hereto, through their undersigned counsel, that Plaintiff shall receive a fourteen
 4   (14) day extension of time to August 26, 2010, to file its response to Defendants’ Motion
 5   to Dismiss. This is the first stipulation seeking an extension of time.
 6            Plaintiff’s response to Defendants’ Motion to Dismiss is currently due on August
 7   12, 2010. The parties stipulate to an extension of time for two reasons. First, the parties
 8   are currently in discussions regarding scheduling of the various proceedings in light of the
 9   Defendants’ recently filed appeal of this Court’s Order on the United States’ Motion for
10   Preliminary Injunction. The Ninth Circuit has issued a scheduling order pursuant to
11   which briefing and oral argument will be completed by the week of November 1, 2010.
12   Second, owing to the press of other litigation matters and the schedules of various
13   officials who are consulted on this matter, the United States’ counsel requires additional
14   time to have the United States’ response completed and reviewed. Should this stipulation
15   be approved, Plaintiff would not oppose a similar extension of time for Defendants’ reply
16   brief.
17
18   DATED: August 5, 2010
19                                              Respectfully Submitted,
20                                              Tony West
                                                Assistant Attorney General
21
                                                Dennis K. Burke
22                                              United States Attorney
23                                              Arthur R. Goldberg
                                                Assistant Director, Federal Programs Branch
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                                                /s/ Varu Chilakamarri
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10                                            Attorneys for Janice K. Brewer, Governor of the
                                              State of Arizona, and the State of Arizona
11
12
13
                                 CERTIFICATE OF SERVICE
14
           I hereby certify that on August 5, 2010, I electronically transmitted the attached
15
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of
16
     Notice of Electronic Filing to the CM/ECF registrants on record in this matter.
17
18                                                                  /s/ Varu Chilakamarri
                                                                        Varu Chilakamarri
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